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                          IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE WESTERN DISTRICT OF OKLAHOMA


IN RE:
                                                        Case No.: BK-18-13787-JDL
WILMA JEANNE MORRIS,                                    Chapter 13

       DEBTOR.


                  CREDITOR’S PRELIMINARY WITNESS AND EXHIBIT LIST

       COMES NOW the Creditor, QUICKEN LOANS INC., (“QUICKEN”), through its undersigned
counsel, and hereby submits its Amended Witness and Exhibit List for the hearing scheduled for March
12, 2019 on Debtor’s Motion for Determination of Fees, Expenses, or Charges Pursuant to Rule
3002.1(E) (Doc. 18). QUICKEN informs the Court and counsel that this amendment is filed due to the
fact that QUICKEN had to confirm that the expert witness(es) named herein would be willing and able to
testify herein. QUICKEN continues to reserve the right to amend these lists as equity may require and/or
allow.

                                                WITNESSES

No. Name                       Address            Proposed Testimony
1.  Michael L.                 1544 Old           Will testify to amount of work, skill and knowledge
    McCormick                  Alabama Rd.        required to receive, process and prepare bankruptcy
                               Roswell, GA        Proof of Claim matters along with reasonableness of
                               30076              fees and expenses challenged herein.
                               (678) 281-3918

2.   Bret D. Davis             5613 N. Classen    Will testify to amount of work, skill and knowledge
                               Blvd.              required to receive, process and prepare foreclosure
                               Oklahoma City,     matters and/or bankruptcy Proof of Claim matters along
                               OK 73118           with reasonableness of fees and expenses challenged
                               (405) 840-5900     herein.
3.   O. Clifton Gooding        204 N. Robinson    Will testify to amount of work, skill and knowledge
                               Ave.               required to receive, process and prepare bankruptcy
                               Suite 650          Proof of Claim matters along with reasonableness of
                               Oklahoma City,     fees and expenses challenged herein
                               OK 73102
                               (405) 948-1978

4.   All witnesses of other
     parties not objected to
     by QUICKEN
5.   Records custodians                           Identify and/or authenticate Creditor’s exhibits
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                                             EXHIBITS

No.                                         EXHIBIT
1.    Invoice(s) for Bankruptcy Fees and Expenses
2.    Pleadings and Claims Filed herein
3.    Note dated August 30, 2016
4.    Mortgage dated August 30, 2016 recorded September 16, 2016 in Book 4469 Page 478 of the
      Canadian County Clerk
5.    Any exhibit needed for impeachment or rebuttal purposes
6.    Debtor’s exhibits not objected to by QUICKEN




                                                  QUICKEN LOANS INC.




                                  By:         s/ Matthew J. Hudspeth
                                              MATTHEW J. HUDSPETH - #14613
                                              JIM TIMBERLAKE - #14945
                                              Baer Timberlake, P.C.
                                              4200 Perimeter Center, Suite 100
                                              Oklahoma City, OK 73102
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                                              mhudspeth@baer-timberlake.com
                                              Attorney for Creditor




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                                    CERTIFICATE OF SERVICE

I hereby certify that I mailed a true and correct copy of the above and foregoing Amended Witness and Exhibit
List with postage thereon fully prepaid to the parties listed below on February 25, 2019.

Wilma Jeanne Morris
605 S. Lakehoma Dr.
Mustang, OK 73064

      The following persons should have received notice of the above and foregoing instrument on the
same day it was filed by the Court’s CM/ECF Electronic Noticing System.

John T. Hardeman
P.O. Box 1948
Oklahoma City, OK 73101

Jason A. Sansone
Sansone Howell PLLC
Arvest Bank Tower, Suite 500
4600 SE 29th St
Del City, OK 73115
                                     By:         s/ Matthew J. Hudspeth____________
                                                 MATTHEW J. HUDSPETH - #14613
                                                 JIM TIMBERLAKE - #14945
                                                 Baer Timberlake, P.C.
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                                                 Attorney for Creditor




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